 Case 5:22-cv-00069-EKD Document 18 Filed 02/13/23 Page 1 of 2 Pageid#: 81
IN THE UNITED STATES DISTRICT COURT

                                FOR THE WESTERN DISTRICT OF VIRGINIA

                                                                    HARRISONBURG DIVISION




Rodney Soul sby, II

Pla intiff                                                   Civil Acti o n No. 5:22-cv-00069



V.                                                                  Honorable Judge K. Dillon

Ashlyn D. Vint                                                      United States DistrictJudge

Defendant



                 MOTION TO DISMISS the DEFENDANTS MOTION TO DISMISS

In response to opposing counsels Motion to Dismiss, please accept th is memorandum and all
Motions attached based on my Pro Se filing .

First and foremost, above any and all else following, Petitioner asks the court to DISMISS
Defendants Motion to Dismiss if Not for any other reason filed in response, just for the sole
reason of:

There is NO SIGNATURE on the MOTION TO DISMISS nor any signature on the MEMORANDUM
OF LAW IN SUPPORT OF DEFENDANT'S RULE 12(b)(6) MOTION TO DISMISS

Federal Rules of Procedure; Title Ill, Pleadings and Motions; Rule 11. Signing Pleadings and
Other Papers; Representations to the Court: Sanctions

(a)    Signature- Every Pleading, written motion, and other paper must be signed by at least
one attorney of record in the attorney's name-or by the party personally if the party is
unrepresented. The paper must also state the signer's address, e-mail address, and telephone
number.

The copies received by the Petitioner {exhibit 1 and Exhibit 2 attached) and presumably
received by the court of the Defendant's counsel appear to be originals {filed on Dec 14,
20222), but both FAIL to have any signature of any kind on them from any member of counsel
or its law firm it represents nor any signature from the Defendant herself.

Therefore under Rule 11 stated above, Petitioner asks the court to GRANT Petitioner' s Motion
to Dismiss the Defendants Motion to Dismiss for failing to sign either its Motion to Dismiss or its
Memorandum of Law in Support of Defendant's Rule 12{b){6) Motion to Dismiss, and to DENY
Defendant's Motion to Dismiss and its Memorandum, and to enter the Order attached .



Respectfully submitted by,


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Rodney Soulsby II, Pro Se

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RSoulsbyii@gmail.com (540)447-4297



 CERTIFICATE OF SERVICE

I hereby certify that on Jan. 03, 2023, a true and correct copy of the foregoing instrument has

been forwarded by first class mail to: K. Olga Sas-Jaworsky Legal Assistant to Kevin M. Rose
BotkinRose PLC 3190 Peoples Drive Harrisonburg, VA 22801, counsel of record for Ashlyn D.
Vint.
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Rodney Soulsby II, Pro Se

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